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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 07-22930-CIV-MOORE
                                             (00-1162-CR-MOORE)
                                     MAGISTRATE JUDGE P.A. WHITE

 JULIO DAVID ALFONSO,                :

             Movant,                 :       REPORT RE DISMISSAL
                                            FOR FAILURE TO OBTAIN
 v.                                  :    AUTHORIZATION PURSUANT TO
                                            28 U.S.C. §2244(b)(3)
 UNITED STATES OF AMERICA,           :

           Respondent.          :
 ______________________________


       The pro-se movant, Julio David Alfonso,             filed a motion to

 dismiss his indictment/motion for relief from judgment pursuant to

 Fed.R.Civ.P. 60(b) in his criminal case. The motion was referred to
 the Undersigned Magistrate Judge On November 6, 2007 (CR DE#121).

 The motion was ordered to be docketed as a motion to vacate. The

 petitioner is attacking a his criminal conviction in case no. 00-

 1162-Cr-Moore. The motion is          correctly docketed as a motion to
                                              1
 vacate pursuant to 28 U.S.C. §2255.              This motion to vacate is

 successive.     On April 24, 1996, the habeas corpus statutes were

 amended.    Included in the new amendments is a change in 28 U.S.C.

 §2244, which now reads as follows:


                   (a) No circuit or district judge shall be required
             to entertain an application for a writ of habeas corpus


 A petitioner’s Rule 60(b) motion to reopen the judgment can be
 regarded as a second or successive application for purposes of
 the Antiterrorism and Effective Death Penalty Act (AEDPA). A
 prisoner may not be entitled to evade the restrictions of filing
 a successive petition by filing a Rule 60(b). Gonzalez v.
 Secretary for the Department of Corrections, 366 F.3d 1253 (11
 Cir. 2004).
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             to inquire into the detention of a person pursuant to a
             judgment of a court of the United States if it appears
             that the legality of such detention has been determined
             by a judge or court of the United States on a prior
             application for a writ of habeas corpus except as
             provided in section 2255.

                                    *   *   *
                   (b)(3)(A)    Before   a   second   or   successive
             application permitted by this section is filed in the
             district court, the applicant shall move in the
             appropriate court of appeals for an order authorizing
             the district court to consider the application .
                   (B) A motion in the court of appeals for an order
             authorizing the district court to consider a second or
             successive application shall be determined by a three-
             judge panel of the court of appeals.
                   (C) The court of appeals may authorize the filing
             of a second or successive application only if it
             determines that the application makes a prima facie
             showing that the application satisfies the requirements
             of this subsection.
                   (D) The court of appeals shall grant or deny the
             authorization to file a second or successive application
             not later than 30 days after the filing of the motion.
                   (E) The grant or denial of an authorization by a
             court of appeals to file a second or successive
             application shall not be appealable and shall not be the
             subject of a petition for rehearing or for a writ of
             certiorari.
                   (4) A district court shall dismiss any claim
             presented in a second or successive application that the
             court of appeals has authorized to be filed unless the
             applicant   shows    that  the   claim   satisfies   the
             requirements of this section.

                                    *   *   *

             (Emphasis added.)



       On the same day, April 24, 1996, 28 U.S.C. §2255 was amended

 in relevant part to provide the following:


             A second or successive motion must be certified as
             provided in section 2244 by a panel of the appropriate
             court of appeals to contain--
               (1) newly discovered evidence that, if proven and
             viewed in light of the evidence as a whole, would be
             sufficient to establish by clear and convincing evidence
             that no reasonable factfinder would have found the
             movant guilty of the offense; or
              (2) a new rule of constitutional law, made retroactive
             to cases on collateral review by the Supreme Court, that
             was previously unavailable.


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       The petitioner filed a prior motion to vacate attacking his

 conviction in case no. 00-1162-Cr-Moore. The motion was assigned

 Case No. 03-20878-Civ-Moore. It was denied on January 30, 2004.

 The   Eleventh    Circuit   Court   of   Appeals   declined   to    issue   a

 certificate of appealability on July 7, 2005, Case No. 05-11589-A.
 This motion is therefore successive.



       The petitioner’s judgment was entered on August 2, 2001, and

 the mandate affirming the conviction was entered in May 24, 2002.

 The petitioner is now, five years later, seeking review of a final

 judgment pursuant to a Rule 60(b). The petitioner claims that

 unlawful sentences were used to enhance is sentence. This 60(b)

 motion is untimely because it was not made within a reasonable time

 under the Rule See Rule 60(b). Further, the petitioner will still

 need permission from the Eleventh Circuit for review of a criminal

 conviction in another collateral attack.



       If the movant intends to pursue this case, he should forthwith

 apply to the United States Eleventh Circuit Court of Appeals for

 the authorization required by 28 U.S.C. §2244(b)(3)(A). The movant

 will be provided with a form to apply for such authorization with

 this report.



       On its face, this successive motion is barred by the one year

 statute of limitations provided by 28 U.S.C. §2255.                Under the

 circumstances of this case it does not appear that either a direct

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 transfer of the case to the Court of Appeals pursuant to 28 U.S.C.

 §1631, or a stay of the present case would be appropriate.              See

 generally Guenther v. Holt, 173 F.3d 1328 (11 Cir. 1999).



       It is therefore recommended that the motion to dismiss the

 information/     motion    for   relief    from   judgment   pursuant    to

 Fed.R.Civ.P. 60(b) be denied (CR DE#118), and that this case be

 dismissed as successive.



       Objections to this report may be filed with the District Judge

 within ten days of receipt of a copy of the report.



       Dated this 14th day of November, 2007.

                                           ______________________________
                                           UNITED STATES MAGISTRATE JUDGE



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